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 4

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 6                              UNITED STATES DISTRICT COURT
 7                                      DISTRICT OF ARIZONA
 8

 9
     Dominique Rose,
                          Plaintiff,
10
     v.
11                                                                  Case No.: 2:15-cv-02562
12   Dalton Corporation d/b/a Chica’s Cabaret,                  Defendents’ Response to the
     Regina Scott, Phillipe Howery, and Jose                  Court’s Order of March 22, 2017
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     Navaoruz
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15                        Defendants

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            In response to the Court’s Order of March 22, 2017, Defendants’ counsel advises the
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     Court as follows:
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     1. On March 14, Plaintiff’s counsel accepted Defendants’ settlement offer, i.e. “Dalton will pay
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     $[X,XXX] in return for the plaintiff's stipulation to dismiss this action with prejudice, all parties
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     to bear their own costs and fees.” No formal settlement agreement is contemplated.
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     2. By return email on that day, Defendants’ counsel asked that Plaintiff file a Notice of
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     Settlement with the Court. Plaintiff’s counsel, Cliff and Chris Bendau, then called undersigned
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     counsel and stated they believed the most expeditious way to end the case was to extend their
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     time for response to Defendants’ pending motion for summary judgment, and then file the
                                                       1
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 1   stipulation for dismissal upon receipt of payment. Seeing this only as an eccentric route to a
 2   desirable end, undersigned counsel agreed to stipulate to the extension.
 3   3. In light of the Court’s Scheduling Order regarding settlement notification, information in the
 4   instant Order regarding the Court’s prior admonition of Plaintiff’s counsel, the duty of candor to
 5   the Court, and other reasons, Defendants’ counsel now believes the proper course of action was,
 6   and is, to file a notice of settlement with the Court. That notice is filed concurrently with this
 7   response.
 8   4. Defendants’ counsel has no information concerning the nature of Plaintiff’s counsels’
 9   personal and professional conflicts referenced in Stipulation for an Extension of Time for
10   Plaintiff to File Response to Defendants’ Motion for Summary Judgment.
11            RESPECTFULLY SUBMITTED THIS 22th DAY OF March, 2017
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13                                                    ALLEN LAW FIRM LLC
                                                      /s/ William P. Allen
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16   I hereby certify that on March 22,
     2017, I electronically filed this
17
     document with the Arizona
18   District Court Clerk

19   COPY of the foregoing served
     electronically March 22, 2017
20

21
     Christopher J. Bendau
     Clifford P. Bendau, II
22   P.O. Box 97066
     Phoenix, AZ 85060
23   Attorneys for Plaintiff
24

25   By:   /s/ William P. Allen

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